         CASE 0:21-cr-00020-ADM-DTS Doc. 1 Filed 01/26/21 Page 1 of 3




                         T'NITED STATES DISTRICT COI'RT
                                 DIsrRIcr oF MINNES.TA
                                                                   (, .at' oao Aol't                ors
                                                                                                f
T]NITED STATES OF AI\{ERICA,                        )      INDICTMENT
                                                    )
                     Plaintifi                      )
                                                    )      18 U.S.C. $ 2
v.                                                  )      2t U.S.c. $ 8a1(a)(l)

(l) DEVrN   DELBERT DONALD BLOM )
                                                    )      2r u.s.c. $ 84loxlxA)
                                                           2r U.S.C. $ 846
                                  )                        2r U.s.c. $ 853(a)
(2) MICIIELLE IvIARGARET PATZOLD, )                        2l   U.S.C. $ 8s3(p)
                                                    )
                    Defendants.

       TI{E IJNITED STATES GRAI{D JTJRY CHARGES TIIAT:

                                           COI'NT 1
                     (Conspiracy To Distibute Methamphetamine)

       Beginning in or about July   l,   2020, and continuing through in or about Augtrst 12,

2020, the exact dates being unlmown to the grand jury,            in the State and Distict of

Minnesota" the defendants,

                      DEVIN DELBERT DONALD BLOM, and
                       MICHELLB MARGARET PATZOLD,

did knowingly andhtentionally conspire with each other and others, knoram and rmknown

to the grand jury, to distribute 500 grams or more of a mixture and substance containing a

detectable amount of methamphetaming a contolled substance, in violation of            Title2t,
United States Code, Sections 841(a)(l),84lOXl)(A) and 846.

                                           COI'NT 2
              @ossession With the Intent To Disfribute Methamphetamine)

      On or about August 12,2020, inthe State and       Distict ofMinnesotq the defendants,

                                                                                  sceruruED
                                                                                  JAl{ 2 6 202f
                                                                              U.S. DISTHICT COUR'T MPLS
           CASE 0:21-cr-00020-ADM-DTS Doc. 1 Filed 01/26/21 Page 2 of 3




                        DEVIN DELBERT DONALD BLOM, and
                         MICHELLE MARGARET PATZOLD,
aided and abetted by others, and aiding and abetting each other, did knowingly and

intentionally possess with intent to distibute 500 grams or more of   a   mixture and substance

containing a detectable amount of methamphetamine, a conholled substance, in violation

ofTitle 21, United   States Code, Sections   8al(aXl) and 841(bXlXA),      and   Title 18, United

States Code, Section 2.

                             FORX'tsITI'RE ALLEGATIONS

       Counts    l-2 of this Indictnent   are incorporated by reference for the purpose        of

alleging forfeitrnes pursuant to Title 21, United States Codg Section 853.

       If convicted of either of Counts 1-2 ofthis Indicfinent, the defendants,

                        DBVINDELBERT DONALD BLOM, and
                         NIICHELLE MARGARET PATZOLD,

shall forfeittotheUnited States,pursuantto    Title2l,United StatesCode, Section 853(a)(1)

and (2), any and all propoty constituting, or derived from, any proceeds obtained directly

or indirectly as a result of each such violation" and any and all property use4 or intended

to be used, in any manner or part to commit or to facilitate the oommission of said

violations, including but not limited to $71,900 in U.S. currency seized from defendants

onAugust 13,2020.

      If   any of the above-described forfeitable property is unavailable for forfeiture, the



                                               2
           CASE 0:21-cr-00020-ADM-DTS Doc. 1 Filed 01/26/21 Page 3 of 3




United States v. Devin DelbertDonaldBlom. etal.



United States intends to seek the forfeitrne of substitute property as provided for in Title

21, United States Code, Section 853(p).

                                            A TRTJE BILL




I'NITED STATES ATTORNEY                             FOREPERSON
